    Case 20-42492       Doc 116      Filed 02/03/21 Entered 02/03/21 11:49:50                Desc Main
                                      Document     Page 1 of 3



United States Department of Justice
Office of the United States Trustee
300 Plaza Tower
110 N. College
Tyler, Texas 75702
(903) 590-1450

                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

     In re:                                            §      Chapter 11
                                                       §
     SPHERATURE INVESTMENTS LLC,                       §      Case No.: 20-42492
     et al.                                            §
                                                       §
                    Debtors. 1                         §      Jointly Administered


         AMENDED APPOINTMENT OF OFFICIAL UNSECURED CREDITORS’
                             COMMITTEE



       The United States Trustee, pursuant to 11 U.S.C. §1102(a)(1), appoints the following
persons to the Official Unsecured Creditors’ Committee in the above styled and numbered case:


Christine Villar
FSP Legacy Tennyson Center, LLC
401 Edgewater Place, Suite 200
Wakefield, MA 01880
781-557-1377
Cvillar@fspreit.com




1    The “Debtors” in the above-captioned jointly administered chapter 11 bankruptcy cases (“Cases”) are:
     Spherature Investments LLC (“Spherature”) EIN#5471; Rovia, LLC (“Rovia”) EIN#7705; WorldVentures
     Marketing Holdings, LLC (“WV Marketing Holdings”) EIN#3846; WorldVentures Marketplace, LLC (“WV
     Marketplace”) EIN#6264; WorldVentures Marketing, LLC (“WV Marketing”) EIN#3255; WorldVentures
     Services, LLC (“WV Services”) EIN#2220. The Debtors’ corporate headquarters and service address in this
     district is 5100 Tennyson Parkway, Plano, TX 75024.
 Case 20-42492       Doc 116     Filed 02/03/21 Entered 02/03/21 11:49:50               Desc Main
                                  Document     Page 2 of 3



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David Watson
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Lone Tree, CO 80124
507-312-0290
Davewatson22@hotmail.com


Dated: February 3, 2021                                       Respectfully submitted,

                                                              William T. Neary
                                                              United States Trustee

                                                              /s/ Marc Salitore
                                                              Trial Attorney
                                                              Texas Bar 24029822
                                                              300 Plaza Tower
                                                              110 N. College
                                                              Tyler, Texas 75702
                                                              (903) 590-1450 Ext. 218




                                     Certificate of Service

The undersigned hereby certifies that a copy of the foregoing document was served on the
following listed persons through the court’s electronic notification system as permitted by
Appendix 5005 to the Local Rules of the U.S. Bankruptcy Court for the Eastern District of
Texas, or by first class United States Mail, postage prepaid, or by electronic mail, no later than
February 3, 2021.

                                                              /s/ Marc Salitore
                                                              Trial Attorney

DEBTORS
Spherature Investments LLC et al.
5100 Tennyson Parkway
Plano, TX 75024
 Case 20-42492     Doc 116       Filed 02/03/21 Entered 02/03/21 11:49:50   Desc Main
                                  Document     Page 3 of 3



DEBTORS’ COUNSEL
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